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            Case 23-70113-grs                      Doc 208           Filed 05/07/23 Entered 05/07/23 12:20:20                                 Desc Main
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 Fill in this information to identify the case:

 Debtor name         INMET Mining, LLC

 United States Bankruptcy Court for the: Eastern District of Kentucky

 Case number (if known)             23-70113-grs
                                                                                                                                         X Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       ACIN LLC/ Natural
 2.1
       Resource Partners                             Describe debtor's property that is subject to a lien                $1,715,402.04                         $0.00
       Creditor's Name                               UCC, financing, and/or fixture filings in VA
                                                     and KY


       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. ACIN LLC/ Natural
       Resource Partners
       2. Black Mountain
       Marketing and Sales

       Black Mountain Marketing
 2.2
       and Sales                                     Describe debtor's property that is subject to a lien             $104,443,360.34            $56,000,000.00
       Creditor's Name                               See attached Fixed Assets Inventory List,
                                                     including cost basis, depreciation, and net
                                                     book value. No appraisals, etc. completed;
                                                     listed Current Value is Cost Basis (excludes
                                                     items 1-9 as are buildings).; ACIN LLC Lease;
                                                     Penn Virginia Lease; "Owned Real Property"
                                                     as set forth in Exhibit B of the Sale Order in
                                                     In re Blackjewel, 19-bl-30289 (WVSB), Docket
       425 Houston Street, Suite                     No. 1096, in Kentucky and Virginia.; Cave
       400                                           Branch Plant and Lone Mountain Plant
       Fort Worth, TX 76102
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       INMET Mining, LLC                                                                        Case number (if known)      23-70113-grs
              Name

       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.3   Blue Tarpon Capital, LLC                      Describe debtor's property that is subject to a lien                       $116,150.03       $5,000,000.00
       Creditor's Name                               See attached Fixed Assets Inventory List,
                                                     including cost basis, depreciation, and net
                                                     book value. No appraisals, etc. completed;
       1415 Louisiana Street                         listed Current Value is Cost Basis (excludes
       Suite 2400                                    items 1-9 as are buildings).
       Houston, TX 77002
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.4   Caterpillar Finance                           Describe debtor's property that is subject to a lien                   $1,643,412.23         $5,000,000.00
       Creditor's Name                               See attached Fixed Assets Inventory List,
                                                     including cost basis, depreciation, and net
                                                     book value. No appraisals, etc. completed;
                                                     listed Current Value is Cost Basis (excludes
       2120 West End Avenue                          items 1-9 as are buildings).
       Nashville, TN 37203
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




       Penn Virginia Operating
 2.5
       Co., LLC                                      Describe debtor's property that is subject to a lien                   $3,000,000.00         $5,000,000.00

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
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 Debtor       INMET Mining, LLC                                                                        Case number (if known)    23-70113-grs
              Name

       Creditor's Name                               Sale-lease back of plant
       Seven Sheridan Square
       Suite 400
       Kingsport, TN 37660
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




                                                                                                                             $110,918,324
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       .64

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
        Caterpillar Finance
        PO Box 730681                                                                                           Line   2.4
        Dallas, TX 75373




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         INMET Mining, LLC

 United States Bankruptcy Court for the: Eastern District of Kentucky

 Case number (if known)         23-70113-grs
                                                                                                                            X Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
     2.1     Hunter Hobson                     3271 Lakeside Drive                               Black Mountain                     D   2.2
                                               Lenoir City, TN 37772                             Marketing and Sales                E/F
                                               Only responsible for part of secured                                                 G
                                               BMMS debt.



     2.2     Industrial                        144 E Market Place Blvd.                          Caterpillar Finance                D   2.4
             Minerals Group,                   Knoxville, TN 37922                                                                  E/F
             LLC                                                                                                                    G



     2.3     Industrial                        144 E Market Place Blvd.                          Black Mountain                     D   2.2
             Minerals Group,                   Knoxville, TN 37922                               Marketing and Sales                E/F
             LLC                                                                                                                    G



     2.4     Kopper Glo                        144 E Market Place Blvd.                          Black Mountain                     D   2.2
             Mining                            Knoxville, TN 37922                               Marketing and Sales                E/F
                                                                                                                                    G



     2.5     Hunter Hobson                     3271 Lakeside Drive                               Black Mountain                     D
                                               Lenoir City, TN 37772                             Marketing & Sales                  E/F
                                               Only responsible for part of secured                                                 G   2.54
                                               BMMS debt.



     2.6     Industrial                        144 E Market Place Blvd.                          Black Mountain                     D
             Minerals Group,                   Knoxville, TN 37922                               Marketing & Sales                  E/F
             LLC                                                                                                                    G   2.53




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 2
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 Debtor       INMET Mining, LLC                                                             Case number (if known)   23-70113-grs


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

     2.7     Industrial                        144 E Market Place Blvd.                          Black Mountain                     D
             Minerals Group,                   Knoxville, TN 37922                               Marketing & Sales                  E/F
             LLC                                                                                                                    G   2.54



     2.8     Kopper Glo                        144 E Market Place Blvd                           Black Mountain                     D
             Mining                            Knoxville, TN 37922                               Marketing & Sales                  E/F
                                                                                                                                    G   2.53



     2.9     Kopper Glo                        144 E Market Place Blvd                           Black Mountain                     D
             Mining                            Knoxville, TN 37922                               Marketing & Sales                  E/F
                                                                                                                                    G   2.54




Official Form 206H                                                           Schedule H: Your Codebtors                                    Page 2 of 2
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                                MAILING LIST

                                Hunter Hobson
                                3271 Lakeside Drive
                                Lenoir City, TN 37772

                                Kopper Glo Mining
                                144 E Market Place Blvd.
                                Knoxville, TN 37922
